Michael P. Heringer
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Scott G. Gratton
Kelly J.C. Gallinger*
Jon A, Wilson

Seth A. Cunningham
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Nathan A. Burke
Alex J. Ames
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Michael P. Sarabia
John R. Knisely

Kai B. Thorsgard

Of Counsel
Robert L. Sterup

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Rockwood Brown
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*alsa licensed in
North Dakota

Case 1:20-cv-00052-SPW Document 267-5 Filed 09/27/23 Page 1 of 18

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April 26, 2023

VIA EMAIL

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MERRILL LAW, LLC

6631 Mariposa Court

Denver, CO 80221

Re: Tracy Caekaert and Camillia Mapley v. Watchtower Bible and Tract Society of
New York, Inc., et al.
USDC Billings Division 20-CV-52-SPW-TJC
File No. 78280.001

Ariane Rowland and Jamie Schulze v. Watchtower Bible and Tract Society of
New York, Inc., et al.

USDC Billings Division 20-CV-59-SPW-TJC

File No. 78280.002

Counsel:

Please allow this letter to serve as response to Katy Gannon’s letter dated April 20,
2023. I have enclosed with this letter a copy of Dr. Michael Butz’s response to your
technical questions and a copy of his testimony list as requested.

EXHIBIT

Case 1:20-cv-00052-SPW Document 267-5 Filed 09/27/23 Page 2 of 18

Brown Law Firm, P.C.
April 26, 2023
Page 2 of 3

Dr. Butz has provided the scope of his proposed examinations in his letter. Please let me know if
you have any further questions or concerns in that regard.

Regarding Camillia Mapley, | will remind you once more that she has filed a lawsuit against our
clients in the Montana Billings Division. She has purposely availed herself of this jurisdiction
and is free to dismiss her claims at any time. Her personal challenges, while understandably
fraught, are frankly none of our concern. We have already accommodated Ms. Mapley once by
allowing her deposition to take place via Zoom. Dr. Butz has raised legitimate concerns in his
letter about conducting her forensic exam remotely. As an alternative, Dr. Butz would potentially
consider evaluating Ms. Mapley in person in Australia, subject of course to the licensing issues
discussed in his letter. We would be happy to accommodate this request assuming you agree to
cover his travel costs. Otherwise, please arrange for Ms. Mapley to travel to Billings within the
jurisdiction where she filed suit. We will ask Dr. Butz to evaluate Ms. Mapley later in the lineup
so that the appropriate travel arrangements can be made.

Considering Tracy Caekaert’s medical conditions, Dr. Butz is willing to evaluate her later in the
lineup as well. Dr. Butz also addressed Jamie Schulze and Ariane Rowland’s request for frequent
breaks in his letter. He did request information regarding what accomodations were made when
Ms. Rowland was examined in 2021 so he could consider something similar. As for recording,
Dr. Butz has no problem with this so long as the same is done in accordance with the procedures
set forth in his letter. This procedure conforms to my usual practice of allowing the recording of
the history taking portion of a Rule 35 exam, but not the objective portions.

Finally, regarding costs, I have never even heen requested, much less have I agreed, to cover
travel costs for a Plaintiff attending a Rule 35 exam in the jurisdiction where she filed suit. Were
we requesting that Plaintiffs travel out of jurisdiction for an exam, that would be a different
matter. If you have any substantive authority aside from your understanding, | would be happy to
review and consult with my client.

Since it appears Ms. Rowland has the fewest objections and lives the closest, please confirm that
we can get her scheduled for her exam and I will verify that June 2nd is still available. | am also
happy to further discuss the other issues raised in your letter.

Sincerely,

fo . jy
fir,/e~

Brett C. Jensen
Case 1:20-cv-00052-SPW Document 267-5 Filed 09/27/23 Page 3 of 18

Brown Law Firm, P.C.
April 26, 2023
Page 3 of 3

BCI

ce: Joel M. Taylor (via e-mail)
Gerry Fagan, Christopher Sweeney, Jordan Fitzgerald (via e-mail)
Case 1:20-cv-00052-SPW Document 267-5 Filed 09/27/23 Page 4 of 18

April 25, 2023

Brett C. Jensen, Esq.

Brown Law Firm, P.C.

315 North 24* Street

P.O. Drawer 849

Billings, Montana 59103-0849

RE: Correspondence regarding request for evaluations of Plaintiffs, Rule 35, Caekoert & Mapley v.
Watchtower Bible and Tract Society of New York, inc., et gl. and Rowland & Schuize v. Watchtower
Bible and Tract Society of New York, Inc., et al. (Letter 4.20.23, Email 4.24.23).

Dear ivr. Jensen:

i have received your email from the 24th and the attached letter from the 20th from Ms. Gannon.
in this letter | will address both and use a numbering system for clarifying my responses.

As to the first basic query, for our purposes here #1, which attends to the ‘manner, conditions,
and scope’ of the assessments that will be conducted. The assessrnents, if and/or when
conducted, will hold with general principles of the practice of psychological assessment, and
practices in the field of behavioral healthcare. Therefore, the referral question will be identified,
there will be an informed consent process that will be reviewed and documented, the examinee's
understanding of the nature of the referral will be reviewed and documented, a social history will
be conducted and documented, a mental status interview as well will be conducted and
documented, and the examinee will be administered a number of standardized psychological
assessment instruments, and those findings, their analysis and bearing on the case will be
documented. Obviously, such an assessment will also include considerations involving collateral
documentation and the matters involved with ecological validity in order to produce meaningful
diagnostic impressions and recommendations.

As to the second matter, item #2, please find the attached summary of cases in which | have
testified as an expert at trial or in a deposition (History of Forensic Testimony 6.28.22).

The third matter, which essentially boils down to itern# 3, are the location and mental-physical
state of two Plaintiffs. A matter related to this, is that a Dr. Holmberg had performed an
examination remotely. itis not clear to me what kind of expert this is, nor the scope of their work?
But, what | am able to address is that in a case like this the ideal circumstance is to evaluate the
examinee face-to-face. Essentially, that is the gold standard. Although, accommodations have
been made during the pandemic, taking shortcuts and performing a less than optimal
examinations tends te be problematic with cases that have such import. There are numerous
considerations involved with remote administration of psychological assessments in cases like
these. Typically, a preferred method is for the examiner to simply travel to the location of the
examinee and conduct the assessment at an objectively neutral site with requisite conditions.

P.O. Box 81546, Billings, MT 59108
Phone (406) 294-9677 © Fax (406) 371-5535 ¢ www.AspenPractice.net
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This does involve looking into the licensing laws for practice in different countries and states, and
| can certainly look into these matters if that is the agreed-upon approach.

As to the fourth matter, item #4, | frequently work with individuals who require accommodations
in the examination schedule and breaks, such as the elderly, those who are impaired for
neuropsychologically, and children that have difficulty managing themselves for long periods of
time, etc. Accommodating breaks in the assessment process is a regular part of my practice.
Parenthetically, | did take note of the fact that Ms. Rowland had been examined in 2021, which
by the sounds of it was psychologist. | would be interested to see that examination and know

what kind of accommodations were documented at that point in time to aid her in completing
the process.

Rounding things out, with item #5, we do have an audio recording authorization form that is used
at Aspen Practice, P.C., and | have no problem with an audio recording of parts of the session that
do not violate copyright laws or test security. Having another party present for the examination
tends to be more cumbersome and interferes with the assessment process, Still, adjustments
have been made in order to address informed consent when there are questions of competence,
and to provide support and/or clarification of the social history involving elderly, those who are
impaired for neuropsychologically, and/or children. It is my understanding, however, that these
are all independently functioning adults. With regard to the first paragraph of Page 3 of Ms.

Gannon’'s letter, these matters have been addressed on our website’s Reviews/History page (see
website link below).

it is my hope that this letter addresses the matters raised in the letter of April 20", and your
subsequent email on the 24", As always, if there are any needed clarifications and/or questions,
please feel free to contact our office.

Sincerely yours,

Licensed Psychologist
Montana #365
Virginia #0810007438
Wyoming #818

att: —_ History of Forensic Testimony (6.28.22).

XC! File.

Bitz Response — Correspondence ‘Request for Evaluations’
Case 1:20-cv-00052-SPW Document 267-5 Filed 09/27/23 Page 6 of 18

HISTORY OF FORENSIC TESTIMONY june 28, 2022

Michael R. Butz, Ph.D.
Aspen Practice, P.C.

P.O. Box 81546

Billings, Montana 59108

Phone: (406) 294-9677

Email: office@aspenpractice.net
Web Site: www.aspenpractice.net

2004-Present ~ Montana & Wyoming
A number of forensic assessments were conducted in this evaluator’s work at Aspen Practice, P.C.,
numbering over eighty designated forensic cases at this writing. Subsequently, this evaluator was
called to testify in the following cases.

Ramsey vs. Ramsey ~ Expert Witness (6.24.22)
Cause Number: DR 20-0160

Parenting Plan Hearing

Judge Davies (Yellowstone County, Montana)
Attorneys ~ Mr. Sweeney v. Mr. Turner

Bonner vs. Bonner — Expert Witness (3.9.22)
e Cause Number: DR 20-731
e Hearing on Appointing Parent Coordinator
e Judge Harris (Yellowstone County, Montana)
e Attorneys ~ Mr. Sweeney v. Mr. Brown

Ramsey vs. Ramsey ~ Expert Witness (2.3.22)
Cause Number: DR 20-0160

Parenting Plan Hearing

Judge Davies (Yellowstone County, Montana)
Attorneys — Mr. Sweeney v. Mr. Turner

ee ¢ @ @

Montana vs. Legros ~ Expert Witness (1.13.22)
e Cause Number: DN 18-05; 06; 07
e Termination Hearing
e judge Reeger (Dawson County, Montana)
e Attorneys ~Ms. Belue v. Mr. Lensing, Mr. Waller, and Mr. Wheatcroft

Counts vs. Counts — Expert Witness (8.18.21)
e Cause Number: DR 18-716

e Parenting Plan Hearing

Michael R. Bitz, Ph.D. - History of Forensic Testimony
Case 1:20-cv-00052-SPW Document 267-5 Filed 09/27/23 Page 7 of 18

e Judge Davies (Yellowstone County, Montana)
e Attorneys — Mr. Sweeney v. Mr. Raffiani

Bates & Bates vs. Matrix Production, Co., Miller, Bliss & Bryla — Expert Witness (6.18.21)
e Cause Number: Civil 17594
e Deposition
e Judge Allan (Eighth Judicial District, Converse County, Wyoming)
e Attorneys — Mr. Vincent vs. Mr. Dodson

Horton vs. Horton — Expert Witness (3.18.21)
e Cause Number: CDR-2020-275
e Interim Parenting Plan Hearing
e Judge Seeley (Lewis and Clark County, Montana)
e Attorneys — Mr. Carlson vs. Ms. Weber

Horton vs. Horton — Expert Witness Court Ordered Custody Evaluator (12.28.20)
e Cause Number: DR 11-0978
e Status Hearing
e Judge Todd (Yellowstone County, Montana)

Attorneys — Mr. Sweeney vs. Ms. Hunter

Grantier vs. Babb ~ Expert Witness (11.17.20)
e Cause Number: DDV 17-575
e Jury Trial
e judge McLean (Lewis and Clark County, Montana)
e Attorneys — Mr. Daily and Mr. Sherwood vs. Ms. Miltko and Mr. Ivins

State of Montana vs. Williams (TQW) — Expert Witness (11.16.20)
e Cause Number: DN 19-304
e Show Cause, Adjudication, Disposition, and Treatment Plan Hearing
e Judge Knisely (Yellowstone County, Montana)
e Attorneys ~ Mr. Tiernan vs. Mr. Wahl, GAL Ms. Peirce

Carroll vs. lsackson — Expert Witness Court Ordered Custody Evaluator (10.20.20)
e Cause Number: DR 19-0849
e Hearing on Parenting Plan
e Judge Fehr (Yellowstone County, Montana)
e Attorneys - Ms. LaRance vs. Mr. Ball

Carroll vs. lsackson — Expert Witness Court Ordered Custody Evaluator (8.25.20)
e Cause Number: DR 19-0849
e Status Hearing

Michael R. Buitz, Ph.D. - History of Forensic Testimony
Case 1:20-cv-00052-SPW Document 267-5 Filed 09/27/23 Page 8 of 18

e Judge Fehr (Yellowstone County, Montana)
e Attorneys — Ms. LaRance vs. Mr. Ball

Carroll vs. Isackson ~ Expert Witness Court Ordered Custody Evaluator (8.17.20)
© Cause Number: DR 19-0849
e Status Hearing
e Judge Fehr (Yellowstone County, Montana)
° Attorneys ~ Ms. LaRance vs. Mr. Ball

State of Montana vs. Ciarra Valdez ~ Expert Witness (6.24.20)
e Causes Number: DN-18-183, DN-18-184
* Termination of Parental Rights, Permanent Legal Custody and the Right to Consent to
Adoption — Continued.
e Judge Mosses (Yellowstone County, Montana)
* Attorneys — Ms. Murphy vs. Mr. Howard
GAL, Mr. Snodgrass

State of Montana vs. Ciarra Valdez ~ Expert Witness (5.7.20)
e® Causes Number: DN-18-183, DN-18-184
© Termination of Parental Rights, Permanent Legal Custody and the Right to Consent to
Adoption.
e Judge Mosses (Yellowstone County, Montana)
e Attorneys — Ms. Murphy vs. Mr. Howard
GAL, Mr. Snodgrass

Cheney vs. Cheney — Expert Witness, GAL Report (2.11.20)
e Cause Number: DR-17-16C
e Hearing on Parenting Pian
e Standing Master Bowen (Gallatin County, Montana)
e Attorneys — Ms. Dinwiddie vs. Ms. Mull Core

Sweeney vs. Sweeney — Expert Witness, Child Evaluator (2.11.20)
e Cause Number: DDR-18-0585
e Hearing on Parenting Pian

Judge Parker (Cascade County, Montana)

Attorneys — Mr. Flaherty vs. Mr. Ferguson

Riddle vs. Riddle — Expert Witness Court Ordered Custody Evaluator (11.21.19)
e Cause Number: DR 18-232
e Hearing on Parenting Plan

Judge Fehr (Yellowstone County, Montana)

Attorneys — Ms. LaRance vs. Mr. Waller

Michael R. Butz, Ph.D. — History of Forensic Testimony
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Wood vs. Dickinson — Expert Witness (10.17.19)
e Cause Number: DR-13-13
e Hearing on Request for Assessment of Children
e Judge Snipes-Ruiz (Chouteau County, Montana)
e Attorneys — Mr. Mills vs. Mr. Yellin

Haerr v. Whelahan (9.20.19)
e Cause Number DR 15-156
e Emergency Hearing on Motion to Suspend Petitioner’s Parenting Time
e Judge Gilbert (Park County, Montana)
e Attorneys — Ms. Lawellin/Ms. Rebsom

Williams vs. Williams — Expert Witness (8.12.19)
® Cause Number: DR 15-13
e Hearing on Parenting Plan
e¢ Judge Waid (Stillwater County, Montana)
e Attorneys — Ms. Casey vs. Mr. Radovich

Blair vs. Blair - Expert Witness Court Ordered Custody Evaluator (8.9.19)
e Cause Number: DR 15-1057
e Hearing on Parenting Plan
e Judge Fehr (Yellowstone County, Montana)
e Attorneys — Ms. Grygiel vs. Ms. Lee

Grantier vs. Babb — Expert Witness (6.14.19)
e Cause Number: DDV 17-575
e Deposition
e Judge Reynolds (Lewis and Clark County, Montana)
e Attorneys — Mr. Sherwood vs. Mr. Ivins

Law vs. Law ~ Expert Witness (3.29.19)
e Cause Number: DR 2016-1359
e Motion to Amend Parenting Plan and Hearing on Notice of intent to Move
e Judge Mosses (Yellowstone County, Montana)
e Attorneys — Ms. Berst vs. Mr. Stockdale

Sneed vs. Rossberg — Expert Witness (2.22.19)
e Cause Number: XDBR-16-309
e inthe Matter of T.A.R.
e Judge Menahan (Cascade County, Montana)
e Attorneys - Ms. Henkle vs. Mr. Mills

Michael R. Biitz, Ph.D. ~ History of Forensic Testimony
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Sylvyn vs. Sylvyn ~ Expert Witness (1.11.19)
e Cause Number: DR-17-0472
e Hearing on Replacing Reunification Therapist
e judge Todd (Yellowstone County, Montana)
e Attorneys — Mr. Sweeny vs. Mr. Waller

Thaw vs. United States of America ~ Expert Witness (12.7.18)
e Cause Number: CR 18-37-BLG-SPW
e Sentencing Hearing
e Judge Watters (U.S. District Court, Billings, Montana)
e Attorneys — Ms. Strong vs. Mr. Rubich

Vincent vs. Ransom — Expert Witness (11.7.18)
e Cause Number: DF-13-01
© Hearing on Ex Parte Order for Interim Parenting Plan
e Judge Cybulski (Roosevelt County, Montana)
e Attorneys - Mr. Batterman vs. Ms. Rose-Miller

Thompson vs. Thompson ~ Expert Witness (10.24.18)
e Cause Number: DR-12-1126
e Motion to Amend Parenting Plan
e Judge Harris (Yellowstone County, Montana)
e Attorneys — Mr. Sweeny vs. Ms. Lee

Morton vs. Jarratt, MDU, et. al. - Fact Witness (10.17.18)
e Cause Number: DV-17-998
e Deposition
e At Crowley Fleck Office (Billings, Montana)
e Attorneys — Mr. Young vs. Mr. Oven, Mr. Gregersen, and Mr. Duke

Gregoire vs. Gregoire — Expert Witness (11.13.17)
e Cause Number: CV 455-17-396, DR-17-075, & DR-17-078
e Marriage Dissolution and Custody Hearing
e Judge Yvonne Laird (Hill County, Montana)
e Attorneys ~ Mr. Yellin vs. Ms. Kastelecky

Utter vs. Utter- Expert Witness (6.23.17)
e Cause Number: DR-14-64
* Motion to Amend Parenting Plan and Request for Expedited Hearing
e Judge Gilbert (Park County, Montana)
e Attorneys — Ms. Marshall vs. Mr. Gillette

Michael R. Butz, Ph.D. ~ History of Forensic Testimony
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State of Montana vs. Kristine Hightower— Expert Witness (6.20.17)
e Cause Number: DDN-15-237, DDN-15-238, and DDN-16-188
e Termination of Parental Rights Hearing
e judge McKittrick (Cascade County, Montana)
e Attorneys — Mr. Custer vs. Mr. Small

Conner vs. Nage! — Expert Witness (6.8.17)
e Cause Number: DR 13-5-005
® Marriage Dissolution and Custody Hearing
e Judge Boucher (Hill County, Montana)
e Attorneys —Ms. Crossguns vs. Ms. Forsyth

State of Montana vs. Kristine Hightower- Expert Witness (12.19.16)
e Cause Number: DDN-16-188
e Termination of Parental Rights Hearing
e Judge McKittrick (Cascade County, Montana)
e Attorneys — Mr. Custer vs. Mr. Olsen.

Abromeit v. Truchot (11.17.16)

e Cause Number DR 06-329

e Review Hearing
Judge Fagg (Yellowstone County, Montana)
Attorneys - Mr. Mackey v. Mr. Radovich

Veith v. Veith (10.11-12.16)
e Cause Number CV-16-330
e Review Hearing
e Judge Oldenburg (Fergus, Judith Basin, and Petroleum County, Montana)
e Attorneys — Mr. Yellin v. Ms. Lorang

State of Montana vs. Kristine Hightower~ Expert Witness (10.3.16)
e Cause Number: DDN-16-188
e Termination of Parental Rights Hearing
e Judge McKittrick (Cascade County, Montana)
e Attorneys — Mr. Custer vs. Mr. Olsen.

Disability Rights Montana v. State of Montana (9.20-21.16)
e Cause Number DR 13-380C
® Review Hearing Continued Use of Seclusion and Restraint on Montana State Hospital

Patients
e Judge Seeley (Broadwater & Lewis and Clark Counties, Montana)
e Attorneys — B. Erickson, DRM v. C. Drake, etc.

Michael R. Blitz, Ph.D. — History of Forensic Testimony
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Wolf v. Wolf (6.2.16)

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Cause Number DR 13-380C

Review Hearing

Judge Gilbert (Gallatin County, Montana)
Attorneys — T. Greenfield/L. Schraudner v. M. Uda

State of Montana vs. Shelly Wagner~ Expert Witness (5.11.16)

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Cause Number: BDN-15-115
Adjudicatory Hearing after Temporary Investigative Authority

Judge Pinski (Cascade County, Montana)
Attorneys ~— Mr. Robertson (State) vs. Mr. Ferguson (Father) and Ms. Schaff-Kostelecky

(Mother)

State of Montana vs. Shelly Wagner~ Expert Witness (4.15.16)

Cause Number: BDN-15-115

Adjudicatory Hearing after Temporary investigative Authority

Judge McKittrick (Cascade County, Montana)

Attorneys — Ms. Winfield (State) vs. Mr. Ferguson (Father) and Ms. Schaff-Kostelecky

(Mother)

State of Montana vs. Kristine Hightower— Expert Witness (2.12.16)

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Cause Number: CDN-15-238/CDN-15-237
Termination of Parental Rights Hearing
Judge McKittrick (Cascade County, Montana)
Attorneys - Mr. Peterson vs. Ms. Crossquns

Wolf v. Wolf (12.15.15)

Cause Number DR 13-380C

Review Hearing

Judge Gilbert (Gallatin County, Montana)
Attorneys —T. Greenfield/L. Schraudner v. M. Uda

State of Montana vs. Kelly Allen — Expert Witness (7.23.15)

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Cause Number: BN-13-127

Termination of Parental Rights Hearing
Judge Mckittrick (Cascade County, Montana)
Attorneys ~ Mr. Robertson vs. Ms. Berger

Stroop v. Stroop (6.16.15)

Cause Number DR 12-649
Custody Hearing

e Judge Moses (Yellowstone County, Montana)

Michael &. Bitz, Ph.D. — History of Forensic Testimony
Case 1:20-cv-00052-SPW Document 267-5 Filed 09/27/23 Page 13 of 18

Attorneys — D. Gannett vs. E. Honaker

Axelson v. A.O. (5.20.15)

Cause Number DR 07-401

Protection Order Hearing

Judge Moses (Yellowstone County, Montana)
Attorneys — C. Thimsan vs. L. Harris

Fort Peck Assiniboine & Sioux Tribes in the Matter of T.S. ~ Expert Witness (4.1.15)

Cause Number: F14-08-189

Custody Hearing

Judge Youpee (Fort Peck Tribal Court, Wolf Point, Montana)
Attorneys — Moran vs, St. Germaine/Martin (self-represented)

State of Montana vs. Peter Northcutt — Expert Witness (11.25.13)

Cause Number: DC 11-36

Sentencing Hearing

Judge Tucker (Carbon County, Montana)
Attorneys ~ Ms. Strong vs. Mr. Nixon

Golie vs. Golie~ Expert Witness (1.18.13)

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Cause Number:

Marriage Dissolution and Custody Hearing

Judge Boucher (Hill County, Montana)

Attorneys — Ms. Golie (self-represented) vs. Mr. Yellin

State of Montana in the Matter of JNGW — Expert Witness (12.6.12)

e

Cause Number: DN 12-10.

Termination of Parental Rights Hearing (Regarding JNGW)

Judge Swandal (Park County, Montana)

Attorneys - County Attorney's Office, Ms. Carrick and Mr. Voyich vs. Mr. Breuner

Schwartz vs. Schwartz —Expert Witness (11.29.12)

Cause Number: DR 11-0029
Divorce/Parenting Plan Modification Request
Judge Todd (Yellowstone County, Montana)
Attorneys — Mr. LaBeau vs. Mr. Sweeney

Woerner vs. Woerner —Expert Witness (8.16.12)

Cause Number: DR 09-1455
Parenting Plan Modification Request
Judge Todd (Yellowstone County, Montana)

Michael R. Bitz, Ph.D. — History of Forensic Testimony
Case 1:20-cv-00052-SPW Document 267-5 Filed 09/27/23 Page 14 of 18

Attorneys — Ms. Harris vs. Mr. Sweeney

United States of America vs. Andrew Rice ~ Expert Witness (7.3.12)

Cause Number: CR 10-21-GF-SEH

Sentencing Hearing

Judge Haddon (U.S. District Court, Great Falls, Montana)

Attorneys ~ US. Attorney General's Office, Montana, Mr. Grewell vs. Mr. Yellin

State of Montana vs. Richard Svedahl — Expert Witness (6.25.12)

Cause Number: DC-11-009

Motion to Strike Hearing (Regarding Expert Witness, William Stratford, M.D.)
Judge Boucher (Hill County, Montana)

Attorneys - County Attorney's Office vs. Mr. Yellin

State of Montana vs. Gina Berg~ Expert Witness (9.29.11)

Cause Number: DC-11-02

Sentencing Hearing

Judge Spalding (Wheatland County, Montana)

Attorneys - County Attorney’s Office vs. State Office of the Public Defender (Day)

Evig vs. Williams— Fact Witness (8.10.11)

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Cause Number: DR 04-1172

Parenting Plan Modification Request

Judge Fagg (Yellowstone County, Montana)
Attorneys — Mr. Simkovic vs. Mr. Sweeney

State of Montana vs. Dennis Lawlor— Expert Witness (8.9.11)

Cause Number: DI-11-002, Dl-11-004

Commitment Hearing

Judge Boucher (Hill County, Montana)

Attorneys - County Attorney’s Office vs. Mr. Yellin and Mr. Wagner

State of Montana vs. Dennis Lawlor— Expert Witness (6.30.11)

Cause Number: DI-11-002, DI-11-004

Competency, Criminal and Commitment Hearing

Judge Boucher (Hill County, Montana)

Attorneys - County Attorney’s Office vs. Mr. Yellin and Mr. Donovan

State of Montana vs. Bobby Cooksey— Expert Witness (1.5.11)

Cause Number: CR-2009-43
Sentencing Hearing
Judge Spalding (Musselshell County, Montana)

Michael R. Butz, Ph.D. - History of Forensic Testimony
Case 1:20-cv-00052-SPW Document 267-5 Filed 09/27/23 Page 15 of 18

e Attorneys - County Attorney’s Office vs. State Office of the Public Defender (Day and Sheehy)

J.R.C. vs. Great Falls School District - Expert Witness (12.6-7.10)
e OSPI Number: 2009-S
e Hearing
e Ross Cannon, Hearing Officer
e Attorneys ~ Mr. Tarum and Ms. Larose vs. Great Falls School District (Ms. Faure and Mr.
Mckittrick)

J.R.C. vs. Great Falls School District — Expert Witness (10.14.10)
e OSPi Number: 2009-S
® Hearing
e Ross Cannon, Hearing Officer
e Attorneys — Mr. Tarum and Ms. Larose vs. Great Falls School District (Ms. Faure and Mr.
Mckittrick)

J.R.C. vs. Great Falls School District — Expert Witness (10.4, 7.10)
e OSPI Number: 2009-S
e Deposition
e Ross Cannon, Hearing Officer
e Attorneys — Mr. Tarum and Ms. Larose vs. Great Falls School District (Ms. Faure and Mr.
McKittrick)

State of Montana vs. Bobby Cooksey— Expert Witness (9.27.10)
e Cause Number: CR-2009-43
e Jury Trial
e Judge Spaulding (Musselshell County, Montana)
° Attorneys - County Attorney's Office vs. State Office of the Public Defender (Day and Sheehy)

United States of American vs. Adrian Good Bear, Expert Witness (8.12.10)
e Cause Number CR 08-132-BLG-RFC
e Sentencing Hearing
e Attorneys — K. Varnes, Attorney at Law vs. United States

T.A.S. and G.S., on behalf of T.S. and N.S., Minor Children vs. J.J.H, Fact Witness (1.8.10)
e Cause Number DR 08-338
e Deposition
e Attorneys —J. Reuss, Attorney at Law vs. Brooke Murphy, Attorney at Law

State of Montana vs. Linda Kapsa~ Expert Witness (6.30.09)
e Cause Number DC: 09-018
e Competency Hearing

e Judge Watters (Yellowstone County, Montana)
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e Attorneys - County Attorney’s Office vs. State Office of the Public Defender (Murphy D’Alton,
Duke and Sheehy)

State of Montana, Matter of K.L. Youth in Need of Care — Expert Rebuttal Witness (6.17.09)
e Cause Number DN-08-22
e Custody Hearing
e Judge Day (Custer County, Montana)
e Attorneys - County Attorney’s Office vs. State Office of the Public Defender (Schneder)

T.A.S. and G.S., on behalf of T.S. and N.S., Minor Children vs. J.J.H, Fact Witness (5.26.09)
e Cause Number DR 08-338
e Protection Order Hearing
e Judge Gustafson (Yellowstone County, Montana)
e Attorneys —J. Reuss, Attorney at Law vs. Brooke Murphy, Attorney at Law

State of Montana vs. Jerry Paul Gonzales~ Expert Witness (5.12.09)
e Cause Number DC 07-1022
* Competence Hearing, Withdrawal Guilty Plea (Criminal Charges)
* Judge Todd (Yellowstone County, Montana)
Attorneys - County Attorney's Office vs. Penelope Strong, Attorney at Law

State of Montana vs. Sean Slicker — Expert Witness (8.26.08)
e Cause Number CDJ-07-144
e Suppression Hearing (Criminal Charges)
e Judge Neil (Cascade County, Montana)
e Attorneys - County Attorney's Office vs. State Office of the Public Defender (Carlson)

State of Montana vs. Sean Slicker — Expert Witness (6.17.08)
e Cause Number CDJ-07-144
e Suppression Hearing (Criminal Charges)
e Judge Neil (Cascade County, Montana)
e Attorneys - County Attorney’s Office vs. State Office of the Public Defender (Carlson)

State of Montana vs. Robert Hans Hoffman — Expert Witness (11.28.07)
e Cause Number 06-0989
e Competence Hearing (Criminal Charges)
e Judge Todd (Yellowstone County, Montana)
e Attorneys - County Attorney's Office vs. State Office of the Public Defender (Copenhaver-
Landon, Claus)

State of Montana vs. Adam Heitkemper — Expert Witness (8.24.07 & 11.06.07)
e Cause Number 05-722, 06-677, 06-0718, 06-885, 06-1128, 06-1533

e Competence Hearing (Criminal Charges}
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e Judge Baugh (Yellowstone County, Montana)
e Attorneys - County Attorney’s Office vs. State Office of the Public Defender ( Claus)

State of Montana vs. Logan David Schuler — Expert Witness (2.14.07)
e Cause Number 05-0579.
e Competence Hearing (Criminal Charges)
e Judge Watters (Yellowstone County, Montana)
® Attorneys - County Attorney’s Office vs. State Office of the Public Defender (DeBelly, Phillips)

Richling vs. Romero ~ Testimony as a Fact Witness/Treating Expert Witness (7.25.07)
e Hearing (Civil)
e Judge Todd (Yellowstone County, Montana)
e Attorneys ~ Waller vs. Sweeney

State of Montana vs. Leonard Suko — Expert Witness (4.17.2007)
e Recommitment Hearing, Seriously Developmentally Disabled
e Judge Honzel (Lewis & Clark County, Montana)
e Attorneys — Stahl (Lewis & Clark County) vs. Larose (Montana Advocacy Program)

Horton vs. Kobielusz — Testimony as a Fact Witness/Treating Expert Witness (41.31.07)
e Hearing, Mediation (Civil)
° Court (Sheridan County, Montana)
e Attorneys — Arney vs. Kinnard

State of Montana vs. Ulstad — Expert Witness (1.26.07)
° Deposition (Civil and Criminal Charges)
e Attorneys - County Attorney’s Office vs. State Office of the Public Defender (Claus)

D.J.W. vs. State of Montana Office of Public instruction - Expert Witness (3.8.06)
e Deposition (Civil)
e Attorneys — Stutz (Montana Schoo! Boards Association) vs. Larose (Montana Advocacy
Program)

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Given the relative dearth of occasions this evaluator was called to court in comparison

with the number of forensic assessments that were conducted, no summary of Forensic
Testimony had been assembled or memorialized prior to 2008. Then, given the number of
times this evaluator was called to court, it was apparent that it was a growing necessity.
For that reason, some of the earlier occasions this evaluator was called to court had not
been recorded in detail.

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1999-2004 — Maine

Forensic assessments numbering in the dozens were conducted while living in Maine and working
with Cathance Psychological Services/Washington County Psychotherapy Associates. There were at
least two, perhaps more, events that required this evaluator to be present in court testifying as an
expert witness. There were, by this evaluator’s recollection, a combination of civil and criminal
charges involved in each case even though they were matters largely involving child protective
services cases.

1998-1999 — Idaho

A number of forensic assessments were conducted in work for the Shoshone-Bannock Tribes
spanning Federal, State and Tribal jurisdictions; and while no Federal or State courts called for
testimony, through the Tribal Courts this evaluator was called to hearings, as memory serves, on
two occasions. Both, by recollection, were a combination of civil and criminal charges.

1994-1998 — Wyoming
There, a large number of forensic assessments were conducted both in work conducted while
employed by Wyoming State Hospital and by Mountain Regional Services, inc./Cornerstone
Behavioral Health, Inc. Even so, at no time was this evaluator called to testify at a hearing, trial or
other court proceeding.

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